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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

PERCY SHAW et al,

               Plaintiffs,
                                                       Case No. 1:08-cv-00401
v.
                                                       HON. JANET T. NEFF
LONDON CARRIER, INC. et al,

            Defendants.
______________________________/


       AMENDED NOTICE OF APPOINTMENT OF FACILITATIVE MEDIATOR

        This matter has been referred to facilitative mediation, to be conducted in accordance with

W.D. Mich. LCivR 16.3 and the Voluntary Facilitative Mediation Program Description adopted by

the Court (see Administrative Order 05-029).

        TAKE NOTICE that:

        Martin G. Waldman is hereby appointed Mediator. The initial facilitative mediation

session shall take place no later than July 23, 2010, and shall take place at the time and location

designated by the Mediator. The Mediator has the discretion to schedule additional sessions as

necessary to facilitate resolution of this dispute. All parties or individuals with settlement authority

are required to attend the mediation session(s). All parties are directed to attend all scheduled

mediation session(s) with their respective counsel of record. Corporate parties must be represented

by an agent with the authority to negotiate a binding settlement.

        FURTHER, not less than seven (7) days prior to the scheduled mediation session, each party

is to provide the Mediator with a concise memorandum, no more than ten (10) double-spaced pages


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in length, setting forth the party’s position concerning the issues to be resolved through mediation,

including issues relative to both liability and damages. The Mediator may circulate the parties’

memoranda with the consent of all parties.

       The Mediator shall encourage and assist the parties in reaching settlement of their dispute

but will not compel or coerce the parties to enter into a settlement agreement.

       The referral of this case to mediation will not delay or modify any time period relating to its

disposition, without express order of the court. Unless otherwise ordered, parties are not precluded

from filing pretrial motions or pursuing discovery.

       Pursuant to Fed. R. of Evid. 408, all information disclosed during the mediation session,

including the conduct and demeanor of the parties and their counsel during the proceedings, must

remain confidential, and must not be disclosed to any other party nor to this court, without consent

of the party disclosing the information. The Mediator may not be called as a witness nor may the

Mediator’s records be subpoenaed or used as evidence.

       FURTHER, within seven (7) days of completion of the mediation session, the Mediator will

file a brief report with the ADR administrator, stating only who participated in the mediation session

and whether settlement was reached. Such a post-mediation report is not to contain any additional

information which may breach the principles of confidentiality and privacy noted herein.

       The Mediator shall be paid his hourly rate of $325.00 per hour, which shall be assessed in

as many equal parts as there are represented parties. In the event of noncompliance, the Mediator

may petition the court directing payment of his fees.

       This referral is not a substitute for trial and the above entitled case will proceed to trial in the

event settlement is not reached.


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Dated: June 11, 2010               _/s/     Mary Clapp
                                  Mary Clapp
                                  ADR Case Administrator




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